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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                        Case No.: 18-61325-Civ-Ruiz/Seltzer

  JOEL D. LUCOFF,

        Plaintiff,

  v.

  CITIBANK, N. A.

       Defendant.
  _________________________________________/

                              MEDIATION REPORT

       Mediation was held June 18, 2019 and the case settled in full.


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  By: /s/ Donald A. Yarbrough           By: /s/ Alisa M. Taormina
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Case 0:18-cv-61325-RAR Document 56 Entered on FLSD Docket 06/20/2019 Page 2 of 2



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                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 20, 2019, I electronically filed the
  foregoing document with the Clerk of Court using CM/ECF. I also certify that the
  foregoing document is being served this day on all counsel of record or pro se
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  other authorized manner for those counsel or parties who are not authorized to
  receive electronically Notices of Electronic Filing.

                                                   s/Donald A. Yarbrough
                                                   Donald A. Yarbrough, Esq.


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